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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

                                               )
CURLING, ET AL.
______________________________,                )
                           Plaintiff(s)        )
                                               )      Case No. 1:17-CV-2989
                V.                             )
                                               )
RAFFENSPERGER, ET AL.
______________________________,                )
                      Defendant(s)             )


                      NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
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Office public terminal.
                 5/4/2023
                 ______________           __________________________________
                                          Shannon R. Welch, RMR, CRR
                        Date                           Court Reporter


                     VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type:       ORAL ARGUMENTS ON MOTION FOR SUMMARY JUDGMENT
                              ______________________________________________
                              ______________________________________________
       Proceeding Date:       5/2/2023
                              ______________________________________________
                              ______________________________________________
       Volume Number:         ______________________________________________
                              ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): DAVID CROSS, BRYAN TYSON, MARILYN MARKS

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                 5/4/2023
                 ______________           __________________________________
                                          Shannon R. Welch, RMR, CRR

                        Date                            Court Reporter
